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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                      Plaintiff–Counterdefendant,

       v.

UNITED STATES DEPARTMENT OF THE                          Case No. 19-cv-01974-TNM
TREASURY, ET AL.,

                      Defendants–Crossdefendants,

DONALD J. TRUMP, ET AL.,

                      Intervenors–
                      Counterclaimants–
                      Crossclaimants.


                   COUNTERDEFENDANT’S MOTION TO DISMISS

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Counterdefendant Committee on

Ways and Means of the United States House of Representatives moves to dismiss all

counterclaims because, as stated in the accompanying Memorandum of Law, they fail to state a

claim upon which relief can be granted. A proposed order is submitted with this motion.
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October 12, 2021                          Respectfully submitted,

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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                 Plaintiff–Counterdefendant,

     v.

UNITED STATES DEPARTMENT OF THE                Case No. 19-cv-01974-TNM
TREASURY, ET AL.,

                 Defendants–Crossdefendants,

DONALD J. TRUMP, ET AL.,

                 Intervenors–
                 Counterclaimants–
                 Crossclaimants.


                 MEMORANDUM OF LAW IN SUPPORT OF
               COUNTERDEFENDANT’S MOTION TO DISMISS
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                                       INTRODUCTION

       Like all Americans, Presidents of the United States are required to comply with the

federal tax laws. The Internal Revenue Service (“IRS”) has long had a policy that the

President’s tax returns are subject to mandatory examination. But Donald Trump presented

serious, unprecedented challenges to the IRS’s ability to perform Presidential audits. Mr. Trump

owned a highly complex web of businesses, engaged in business activities internationally, had a

history (as he has boasted) of aggressive tax avoidance, refused to release his returns publicly

(contrary to the modern practice), and repeatedly denounced the IRS’s audits as “unfair” to him.

Therefore, the Committee on Ways and Means of the U.S. House of Representatives

(“Committee”), which has legislative and oversight jurisdiction over federal tax laws, became

concerned about whether the IRS had the resources and safeguards to audit the tax returns of

Mr. Trump and similar future Presidents effectively and independently of improper attempts to

influence an audit. On top of that, Mr. Trump’s business activities raised legitimate concerns

about whether he had received income from foreign sources that would expose him to improper

influence. Congress has a constitutional right and duty to investigate these circumstances and to

determine whether any remedial legislation would be necessary or appropriate.

       Exercising this prerogative, in June 2021—after Mr. Trump had left office—the

Committee asked the IRS and the Department of the Treasury (“Treasury”) to provide two

categories of documents for the tax years Mr. Trump was in office and for the two preceding tax

years: income tax returns, for him and certain of his businesses, and any related IRS audit files.

The Committee made this request under Section 6103(f) of the Internal Revenue Code—a

longstanding law directing Treasury to furnish, to the Chair of the Committee upon request, the

tax return and return information of any taxpayer. Accompanying this request was a lengthy

letter explaining and substantiating the Committee’s legislative and oversight needs for the


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requested tax returns and return information. Upon the advice of the Department of Justice

(“DOJ”), Treasury determined that it would comply with the Committee’s request.

       Mr. Trump, however, has interposed a series of claims against the Committee and

Treasury, seeking to block Treasury from complying with the Committee’s request and

effectively asking for permanent immunity for his tax returns and related IRS records from

Section 6103(f). He principally claims that the Committee’s request is constitutionally invalid

because it does not serve a legitimate legislative purpose and violates the constitutional

separation of powers under the Supreme Court’s recent decision in Trump v. Mazars USA, LLP,

140 S. Ct. 2019 (2020). He even goes so far as to claim that Section 6103(f) is unconstitutional

as applied to a President’s tax returns. Mr. Trump’s claims fail as a matter of law, and therefore

his complaint should be dismissed.

       Mr. Trump does not deny the factual bases for the Committee’s concerns, including his

own public statements attacking the IRS for auditing him. Nonetheless, relying on cherry-picked

statements from various public officials—many of whom are not Members of the Committee

(and some of whom are not even Members of Congress)—Mr. Trump argues that the

Committee’s stated interest in the IRS’s Presidential audit program is “pretextual” and that the

Committee’s real purpose is simply to publicly expose his tax returns “for the sake of exposure”

or else to engage in law enforcement. These claims fail because federal courts have no power to

examine the motives of Members of Congress to determine whether their acts are valid under

Article I. The courts are instead “bound to presume that the action of the legislative body was

with a legitimate object, if it is capable of being so construed,” McGrain v. Daugherty, 273 U.S.

135, 178 (1927)—and as DOJ concluded, the Committee’s request plainly is capable of being so

construed. The rule Mr. Trump advocates would conscript the judiciary into reviewing and




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second-guessing facially valid Congressional acts, an approach that would disregard the

deference owed by courts to Congress as a co-equal branch of government and raise serious

separation-of-powers concerns. In any event, the “evidence” of pretext that Mr. Trump cites

confirms that the Committee’s request indeed serves legitimate legislative and oversight

purposes. Certainly, supposed political motives are legally insufficient to render an otherwise

valid action unconstitutional, as the Supreme Court made clear in Mazars—a case involving “a

clash between rival branches of government over records of intense political interest for all

involved.” 140 S. Ct. at 2034 (emphasis added). And the individual legislators’ statements

recited by Mr. Trump express concerns about his “tax evasion,” “corrupt[ion],” and “foreign

entanglements”—concerns well within Congress’s undeniable authority to investigate and

consider legislation addressing “corruption, maladministration or inefficiency” in government.

Watkins v. United States, 354 U.S. 178, 200 n.33 (1957).

       Moreover, Mr. Trump’s claim based on the Supreme Court’s Mazars decision fails

because that case involved a Congressional subpoena for a sitting President’s records. The

standard adopted in Mazars logically does not apply to a statutory request for a former

President’s records. In any event, whether evaluated under the Mazars standard, the balancing

test adopted by the Supreme Court in Nixon v. Administrator of General Services (“GSA”), 433

U.S. 425 (1977), or the modified version of the Mazars standard used by the district court in that

case on remand, the Committee’s request easily accords with the separation of powers. The

Committee has a strong interest specifically in Mr. Trump’s tax returns and return information

given the unprecedented challenges he posed while in office to the IRS’s ability to audit a

President’s tax returns. The Committee’s request is well tailored to only the materials that will

illuminate how the IRS conducted its audits while he was President. The Committee has




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substantiated its needs at length, which have been accepted by the Executive Branch. And

because Mr. Trump is no longer the President, the Committee’s request will not burden the

current President (or future ones).

         For these and additional reasons, the Court should dismiss Mr. Trump’s claims and

permit Treasury to comply with the Committee’s request for information under 26 U.S.C.

§ 6103(f).

                                         BACKGROUND

         A.     The House Committee On Ways And Means

         The Committee on Ways and Means has legislative and oversight authority over all

federal revenue measures, which encompasses all aspects of our nation’s tax laws and their

administration. See Am. Answer ¶ 12, Dkt. 129; U.S. House of Representatives Rule X.1(t),

117th Cong.1 Pursuant to this authority, the Committee is responsible for conducting oversight

of the IRS to ensure that tax laws are administered in a fair and effective manner, and to inform

legislation for protecting and enhancing the country’s tax system. For that system to function,

Americans must have confidence that no taxpayer—including the President of the United

States—is above the law. Therefore, the Committee has sought the tax returns and return

information of former President Trump and certain of his businesses, including related IRS audit

files.

         B.     Section 6103(f) Continues The Committee’s Long-Established Statutory
                Right To Obtain Tax Returns And Tax Information From Treasury

         For almost a century, the political branches have recognized that a statutory right of

access to taxpayer information is integral to Congress’s ability to investigate wrongdoing by



         1
        https://rules.house.gov/sites/democrats.rules.house.gov/files/117-House-Rules-
Clerk.pdf.


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Executive Branch officials—including Presidents. In 1924, Congress requested the tax records

of high-ranking federal officials suspected of bribery as part of the Teapot Dome scandal, but

President Coolidge refused. See S. Res. 180, 68th Cong., 65 Cong. Rec. 3299 (1924) (requesting

returns); 65 Cong. Rec. 3699-3702 (1924) (President Coolidge’s initial response). In response,

Congress passed Section 6103(f)’s precursor, which provided that the Committee on Ways and

Means (and certain other Congressional committees) “shall have the right to call on the Secretary

of the Treasury” for tax returns, that it “shall be [the Secretary’s] duty to furnish … any data of

any character contained in or shown by the returns” requested by the Committee, and that the

Committee “shall have the right … to inspect all or any of the returns.” Revenue Act of 1924,

Pub. L. No. 68-176, § 257(a), 43 Stat. 253, 293.

       In 1973, the Joint Committee on Taxation relied on Section 6103(f)’s predecessor to

obtain President Nixon’s tax returns as part of its independent review of his tax liability for 1969

to 1972. Though President Nixon voluntarily disclosed his returns for those years, the Joint

Committee “decided not to confine its examination” to those returns, but “rather to examine all

tax items for the years 1969 through 1972.” Staff of Joint Comm. on Internal Revenue Tax.,

Examination of President Nixon’s Tax Returns for 1969 through 1972, S. Rep. No. 93-768, 93d

Cong. 2d Sess. (1974), at 2 (“Joint Tax Committee Nixon Report”). The Joint Committee

therefore requested and received numerous additional materials from the IRS, including certified

copies of the returns President Nixon had voluntarily disclosed and his non-public returns for

other years, including years that predated his Presidency. See Joint Tax Committee Nixon

Report at 4-7; Report of the Comm. on Ways and Means, U.S. House of Representatives, H.

Rep. 116-186, at 4 (2019). Though the IRS had accepted President Nixon’s returns as filed and

had even complimented him for the care he took in preparing his returns, the Joint Committee




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ultimately determined that President Nixon owed over $400,000. Id. Thereafter, to relieve IRS

employees of having to decide whether to audit Presidents’ and Vice Presidents’ returns, the IRS

adopted a policy of conducting a mandatory audit for them. See Staff of the Joint Committee on

Taxation, JCX-3-19, Background Regarding the Confidentiality and Disclosure of Federal Tax

Returns, at 20-21 (Feb. 4, 2019).2

       This statutory assurance of Congressional access to taxpayer information was continued

with the enactment of the current version of Section 6103 in 1976. See Tax Reform Act of 1976,

Pub. L. No. 94-455, § 1202, 90 Stat. 1520, 1667 (amending 26 U.S.C. § 6103). The 1976

amendment was prompted, in part, by concerns about President Nixon’s abuse of the tax system.

See Staff of Joint Comm. on Internal Revenue Tax., Investigation into Certain Charges of the

Use of the Internal Revenue Service for Political Purposes, 93d Cong., 1st Sess. (Comm. Print

Dec. 20, 1973).3 As enacted, Section 6103(a) prohibits the disclosure of taxpayer returns and

return information. That prohibition, however, is subject to “thirteen tightly drawn categories of

exceptions.” Electronic Priv. Info. Ctr. v. IRS, 910 F.3d 1232, 1237 (D.C. Cir. 2018). Among

those exceptions, Section 6103(f)(1) provides that, “[u]pon written request from the chairman of

the Committee on Ways and Means of the House of Representatives …, the Secretary shall

furnish [the] committee with any return or return information specified in such request.”

26 U.S.C. § 6103(f)(1).

       C.       IRS Procedures For Auditing Presidents’ Tax Returns

       The mandatory audit of Presidents’ returns has never been codified in law, whether in the

Internal Revenue Code or an implementing regulation. Rather, it is set forth in the Internal




       2
           https://www.jct.gov/publications/2019/jcx-3-19/.
       3
           https://www.jct.gov/publications/1973/jcs-37-73/.

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Revenue Manual (“Manual”), a compilation of internal, non-binding guidelines for IRS

employees. See IRM Standards, I.R.M. 1.11.2.2 (Aug. 12, 2021);4 see also Electronic Priv., 910

F.3d at 1244-1245 (“It is well-settled … that the provisions of the [M]anual are directory rather

than mandatory, are not codified regulations, and clearly do not have the force and effect of

law.”). The Manual provides that the “individual income tax returns for the President and Vice

President are subject to mandatory examinations” and that “[r]elated returns, including estate and

gift tax returns, will be handled in accordance with procedures relating to all taxpayers.”

Processing Returns and Accounts of the President and Vice President, I.R.M. 4.2.1.15(1), (6)

(Apr. 23, 2014); see also Mandatory Examination, I.R.M. 3.28.3.5.3(1) (Nov. 17, 2020).

Although the Manual describes the general process for examining a President’s individual

income tax returns, the IRS has acknowledged to the Committee that many of the mandatory-

audit provisions are outdated and no longer are applied.

       Further, many aspects of the audit process are left to the IRS auditor’s discretion. The

Manual does not specify the scope, length, or depth of the IRS’s examination of the returns and

does not account for a President who, like former President Trump, had hundreds of business

entities, inordinately complex returns, aggressive avoidance strategies, and ongoing audits—or

who criticized the IRS for auditing him at all. The Manual fails to specify, for example, whether

the audit extends to the President’s business or related entities, open tax years, or ongoing audits.

Nor does the Manual establish how the IRS auditor should be selected and supervised, direct

how the IRS agents conducting the audit should interact with the President and his

representatives, or provide explicit safeguards in the event a President tries to interfere with or

questions the appropriateness of such examination, as Mr. Trump did. Indeed, though the


       4
           The Manual is publicly available at https://www.irs.gov/irm.


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auditor’s identity is kept secret within the IRS, it is known by the President and his

representatives, who communicate with the agent directly, heightening the risk of improper

influence. In short, the IRS’s current procedures, which are neither fully written nor closely

followed, fail to assure the Committee that there are sufficient safeguards in place to protect the

integrity of Presidential audits and the ability of IRS agents to objectively enforce the tax laws

with respect to Presidents. These are topics on which Congress could legislate.

       D.      The Committee’s 2019 Request To Treasury

       In February 2019, the Committee held the Hearing on Legislative Proposals and Tax Law

Related to Presidential and Vice-Presidential Tax Returns, at which Committee Members and

witnesses discussed possible legislation relating to the disclosure of Presidents’ tax returns and

the fairness and efficacy of the IRS’s auditing of Presidents’ tax returns. Hearing on Legislative

Proposals and Tax Law Related to Presidential and Vice-Presidential Tax Returns: Hearing

Before the Subcomm. on Oversight of the H. Comm. on Ways and Means, 116th Cong., Tr. 8, 17,

23, 40-41, 57-58 (Feb. 7, 2019) (“Oversight Tr.”).5 Then, in April 2019, Committee Chairman

Richard E. Neal sent a letter to the IRS Commissioner requesting the tax returns and return

information of then-President Donald J. Trump and eight of his businesses for tax years 2013

through 2018, including the IRS’s “administrative files” for the requested returns. Am. Answer

¶¶ 57, 59; Am. Counterclaims/Cross-Claims ¶ 123, Dkt. 129. The Committee explained that its

request was in furtherance of its consideration of legislative proposals and oversight related to

“Federal tax laws,” including “the extent to which the IRS audits and enforces the Federal tax



       5
          This hearing transcript is available at https://waysandmeans.house.gov/sites/democrats.
waysandmeans.house.gov/files/documents/Transcript%20-%20Final.pdf. The Court may take
judicial notice of the testimony at the hearing to establish the basis for the Committee’s request.
See Fed. R. Evid. 201(b)(2); D.A.M. v. Barr, 474 F. Supp. 3d 45, 55 n.12 (D.D.C. 2020) (taking
judicial notice of Congressional testimony).


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laws against a President.” Am. Counterclaims/Cross-Claims ¶ 124; see Letter for Charles P.

Rettig, Commissioner, Internal Revenue Service, from Richard E. Neal, Chairman, Committee

on Ways and Means, U.S. House of Representatives at 1 (Apr. 3, 2019) (“2019 Request”)

(attached as Exhibit A).6

       Treasury sought guidance from DOJ’s Office of Legal Counsel (“OLC”) regarding

whether Treasury was required to comply with the Committee’s request. Am.

Counterclaims/Cross-Claims ¶ 219. OLC advised Treasury that it was not required to comply

with the Committee’s request because the Committee’s asserted purposes for requesting the tax

records were (OLC said) pretextual. Id. ¶¶ 219-222; see OLC, Congressional Committee’s

Request for the President’s Tax Returns Under 26 U.S.C. § 6103(f), 43 Op. O.L.C. __ (June 13,

2019) (“2019 OLC Op.”).7 Accordingly, Treasury denied the April 2019 Request. As Treasury

has subsequently acknowledged, this was the first and only time a Congressional request under

Section 6103(f) was denied. See Ways and Means Committee’s Request for the Former

President’s Tax Returns and Related Tax Information Pursuant to 26 U.S.C. § 6103(f)(1), 45 Op.

O.L.C. __ (slip op. at 11) (July 30, 2021) (“2021 OLC Op.”) (attached as Exhibit B).

       E.      The Committee’s June 2021 Request To Treasury

       In June 2021, Chairman Neal submitted another request under Section 6103(f)—the

request at issue now. See Am. Counterclaims/Cross-Claims ¶ 253; Letter for Janet L. Yellen,

Secretary of the Treasury, from Richard E. Neal, Chairman, Committee on Ways and Means,

U.S. House of Representatives at 6-7 (June 16, 2021) (“2021 Request”) (attached as Exhibit C).

The 2021 Request again sought the tax returns and return information for Mr. Trump and eight


       6
        https://waysandmeans.house.gov/sites/democrats.waysandmeans.house.gov/files/
documents/Neal%20Letter%20to%20Rettig%20%28signed%29%20-%202019.04.03.pdf.
      7
        https://www.justice.gov/olc/file/1173756/download.


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of his businesses, but for a different period from the 2019 Request: tax years 2015 through 2020.

See 2021 Request at 6-7; see also Am. Counterclaims/Cross-Claims ¶ 253.

        The 2021 Request explained that it was made in furtherance of the Committee’s

“responsibility to conduct rigorous oversight of the [IRS] to ensure that our tax laws are

administered in a fair and impartial manner and to inform legislation necessary for safeguarding”

the tax system. 2021 Request at 1. It noted that “Americans must have confidence that no

taxpayer is able to operate above the law”—especially not “the President of the United States,

who is the single most powerful public official in the country.” Id. The request then detailed the

Committee’s interest in former President Trump’s tax returns and tax information. It stated that

“[t]he Committee has been considering legislative proposals and conducting oversight related to

our Federal tax laws, including, but not limited to, the extent to which the IRS audits and

enforces the Federal tax laws against a President.” Id. For example, the request stated that the

Committee sought to determine whether IRS agents were subject to “improper interference,”

whether they considered “ongoing audits that predate” the Presidential term, whether they

“reviewed” business “activities involving many interrelated entities and income from and

deductions related to foreign sources,” whether they had “access to the necessary books and

records,” and how the President “responded to” any “examination findings or adjustments.” Id.

at 3.

        These questions were raised by Mr. Trump’s Presidency, the 2021 Request stated,

because, among other reasons, he “controlled hundreds of business entities while in office and …

routinely criticized the IRS for auditing him.” 2021 Request at 4. For example, the request

noted that Mr. Trump “controlled … [a] large, complex, and far-reaching web of” businesses

engaged in both “domestic and foreign business activities,” and that he appeared to have “used




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his businesses to take aggressive tax positions to minimize his tax liability,” yet the Manual’s

“provisions on the mandatory audit program do not account for such substantial business

activities.” Id. at 4-5. The request also explained that Mr. Trump claimed to “have been under

continuous audit since before his Presidency,” which, if true, meant that he could be in a position

to improperly influence that audit as President. Id. Indeed, that concern was heightened, the

2021 Request observed, in light of Mr. Trump’s open “disdain for IRS audits” while a candidate

and President—he complained that “people in the IRS … treat [him] very, very badly” and even

considered the automatic Presidential audit “extremely unfair.” Id. at 5-6. Further, the request

stated that his “tax returns could reveal hidden business entanglements raising tax law and other

issues, including conflicts of interest, affecting proper execution of the former President’s

responsibilities.” Id. at 4.

        In sum, as the 2021 Request explained, the Committee “cannot properly evaluate the

effectiveness or fairness of the mandatory audit program, in practice” or “legislate responsibly on

this matter or address the real potential for abuse of power” without access to the requested tax

returns and administrative files. 2021 Request at 3; see also id. at 6.

        F.      The 2021 OLC Opinion

        Upon receiving the 2021 Request, Treasury asked OLC for its opinion as to whether the

Secretary must furnish the requested materials to the Committee. In July 2021, OLC concluded

that the 2021 Request was valid and therefore, under Section 6103(f)(1), Treasury must comply

with it. 2021 OLC Op. at 3. As in its 2019 Opinion, OLC determined that Section 6103(f)(1)’s

“unambiguous … directive” commands Treasury to supply the requested information to the

Committee, yet “does not exempt the June 2021 Request from the constitutional requirement that

congressional demands for information must serve a legitimate legislative purpose.” Id. at 3-4.

But unlike its 2019 Opinion, OLC determined that the Committee’s request “for former President


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Trump’s tax information would further the Committee’s principal stated objective of assessing

the IRS’s presidential audit program—a plainly legitimate area for congressional inquiry and

possible legislation.” Id. at 4.

        As OLC’s 2021 Opinion explained, two key factors drove its different conclusion. First,

OLC explained that “the 2019 Opinion failed to give due weight to Congress’s status as a co-

equal branch of government with legitimate needs for information in order to exercise its

constitutional authorities.” 2021 OLC Op. at 19. Like courts, OLC stated, the Executive Branch

should “presume that … Legislative Branch officials act in good faith and in furtherance of

legitimate objectives” and that “the tax committees are best situated to determine when Congress

ought to have access to tax information.” Id. Accordingly, OLC declared: Although the

Executive Branch need not “‘blindly accept a pretextual justification’ offered by a committee to

justify an informational request,” where “a tax committee requests tax information pursuant to

section 6103(f)(1) and has invoked facially valid reasons for its request (despite the statute’s not

requiring any), the Executive Branch should conclude that the request lacks a legitimate

legislative objective only in exceptional circumstances.” Id. (quoting 2019 OLC Op. at 17).

Such circumstances arise only where “a committee’s asserted purpose truly blinks reality,” for

the Executive Branch need not “‘blind’ itself to ‘what all others can see and understand.’” Id. at

26 (brackets omitted) (quoting Mazars, 140 S. Ct. at 2034).

        OLC added that, like courts, the Executive Branch is “‘bound to presume that the action

of the legislative body was with a legitimate object if it is capable of being so construed.’” 2021

OLC Op. at 22 (quoting McGrain, 273 U.S. at 178). And neither “the fact that a congressional

request for information might serve partisan or other political interests,” nor the fact that

legislators might want to “expose for the sake of exposure,” such as to “embarrass” a President,




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can “‘vitiate an investigation … if [a] legislative purpose is [also] being served.’” Id. at 26, 38

(quoting Watkins, 354 U.S. at 200).

       Second, OLC explained that even if the 2019 Opinion’s doubts about whether the 2019

Request served a legitimate purpose were sound, the 2021 Request left no room for such doubt.

2021 OLC Op. at 31. Specifically, OLC noted that the 2021 Request adjusted the tax years

requested, and “explain[ed] in detail how review of those” materials “could assist” the

Committee’s legislative work, including why “it is reasonable for the Committee to focus on

former President Trump’s returns” given the challenges he posed to the IRS’s audit process. Id.

at 31-33. OLC also found that the Committee’s concerns about hidden business entanglements

and foreign financial influence were “independently sufficient to justify the request” because

“[a]n investigation into possible presidential conflicts of interest or foreign influence and

leverage involves a ‘subject on which legislation could be had.’” Id. at 34 (quoting Eastland v.

U.S. Servicemen’s Fund, 421 U.S. 491, 506 (1975) (quotation marks omitted)).

       Finally, OLC did “not understand Mazars to alter the legal framework for reviewing the

June 2021 Request” because “the June 2021 Request seeks the tax information, not of a sitting

President, but of a former President.” 2021 OLC Op. at 28. OLC found that this difference

greatly mitigated the Mazars Court’s concerns regarding the separation of powers. Id.

       G.      Former President Trump’s Counterclaims And Cross-Claims

       After OLC released its 2021 Opinion, Treasury informed former President Trump and the

Committee that it intended to produce to the Committee materials responsive to the 2021

Request. See Joint Status Report at 2, Dkt. 111. Consequently, the Committee dismissed the

complaint it had previously filed against Treasury concerning the 2019 Request, see Dkt. 115;

Minute Order, Aug. 5, 2021, and Mr. Trump and his business entities filed counterclaims against

the Committee and cross-claims against Treasury (along with the Secretary, the IRS, and the IRS


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Commissioner), which he subsequently amended after seeing the Committee’s and Treasury’s

motions to dismiss. As his pleading stands, Mr. Trump asserts against both the Committee and

Treasury claims that the 2021 Request lacks a legitimate purpose because the Committee’s “real

object” is either (1) to expose Mr. Trump’s returns for the sake of exposure or (2) to engage in

law enforcement, and because (3) the Committee’s request does not relate to legislation that

Congress would have the constitutional power to enact. Am. Counterclaims/Cross-Claims

¶¶ 290-311. Mr. Trump further claims, against both the Committee and Treasury, that the 2021

Request (4) violates the separation of powers under Mazars. Id. ¶¶ 312-317. Against Treasury

alone, Mr. Trump alleges that (5) 26 U.S.C. § 6103(f) is unconstitutional as applied to a

President’s tax returns and tax information, and that the 2021 Request violates (6) the First

Amendment, (7) the separation of powers, and (8) due process. Id. ¶¶ 318-351.

                                      LEGAL STANDARD

       To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a

“complaint must contain sufficient factual matter … to state a claim to relief that is plausible on

its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotation marks omitted). For purposes

of such a motion, courts “should assume the[] veracity” of “well-pleaded factual allegations,” but

“labels and conclusions” and “naked assertions … do not suffice” to state a claim. Id. at 678-679

(quotation cleaned).

       In determining whether a complaint states a claim, courts may consider “any matters

within the pleadings,” Pernice v. Bovim, 183 F. Supp. 3d 84, 87 (D.D.C. 2016), meaning “the

facts alleged in the complaint, documents attached thereto or incorporated therein, and matters of

which [the court] may take judicial notice,” Abhe & Svoboda, Inc. v. Chao, 508 F.3d 1052, 1059

(D.C. Cir. 2007); see Banneker Ventures, LLC v. Graham, 798 F.3d 1119, 1133 (D.C. Cir. 2015)

(incorporation-by-reference doctrine permits courts to “consider a document that a complaint


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specifically references without converting the motion into one for summary judgment”). Here,

the Committee’s 2019 and 2021 Requests and the 2021 OLC Opinion are “part of the pleadings”

and therefore may be considered on this motion: they are “integral” to Mr. Trump’s counter- and

cross-claims, “they are referred to in [his] complaint, and their authenticity is undisputed.”

Pernice, 193 F. Supp. 3d at 87; see also Strumsky v. Washington Post Co., 842 F. Supp. 2d 215,

217-218 (D.D.C. 2012).

        Additionally, the Court may take judicial notice of the Legislative and Executive Branch

materials cited here. In deciding a motion to dismiss, a court may “‘take judicial notice of a fact

that is not subject to reasonable dispute if it … can be accurately and readily determined from

sources whose accuracy cannot reasonably be questioned.’” Kaspersky Lab, Inc. v. U.S. Dep’t of

Homeland Sec., 909 F.3d 446, 464 (D.C. Cir. 2018); see also Fed. R. Evid. 201(b)(2). Matters

subject to judicial notice include “historical, political, or statistical facts” and “public records and

government documents available from reliable sources” like government websites. Johnson v.

Commission on Presidential Debates, 202 F. Supp. 3d 159, 167 (D.D.C. 2016); see also D.A.M.,

474 F. Supp. 3d at 55 n.12 (Congressional testimony judicially noticeable); Public Citizen, Inc. v.

Trump, 297 F. Supp. 3d 6, 24 n.6 (D.D.C. 2018) (Executive Branch statements judicially

noticeable). Courts need not “accept as true the complaint’s factual allegations insofar as they

contradict exhibits to the complaint or matters subject to judicial notice.” Kaempe v. Myers, 367

F.3d 958, 963 (D.C. Cir. 2004).

                                            ARGUMENT

I.      COUNTERCLAIMS I, II, AND III FAIL AS A MATTER OF LAW

        In Counterclaims I, II, and III, Mr. Trump alleges that the Committee’s 2021 Request

lacks a “legitimate legislative purpose” and is therefore invalid under Article I. Am.

Counterclaims/Cross-Claims ¶¶ 292-294, 299-302, 306-307. Counterclaim I asserts that the


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“primary purpose of the request is to obtain and expose [Mr. Trump’s] information for the sake

of exposure,” id. ¶ 295, and Counterclaim II asserts that if the “primary purpose is not exposure

for the sake of exposure, then it is law enforcement,” id. ¶ 300. Both counterclaims urge the

Court to disregard the request’s express rationale and conclude that the Committee’s stated

objectives are pretextual, based largely on the purported political motives of various officials—

some of whom are not even Members of Congress, much less of the Committee. Supreme Court

precedent squarely forecloses Mr. Trump’s attempt to look behind the Committee Chairman’s

stated purposes in making the request and into the Committee’s supposed real motives. In any

event, the motives Mr. Trump posits would not invalidate the request. Counterclaims I and II,

therefore, must be dismissed.

       Counterclaim III should meet the same fate. That claim alleges that the 2021 Request is

not “pertinent to valid legislation” because the Committee’s stated purposes exceed Congress’s

Article I power. For that contention to succeed, however, Mr. Trump must, among other things,

demonstrate that the request could not possibly result in the enactment of any constitutionally

valid legislation. Because Mr. Trump cannot hope to sustain that contention as a matter of law,

the Court should also dismiss Counterclaim III.

       A.      The Committee’s 2021 Request Serves Valid Purposes

       “The congressional power to obtain information is broad and indispensable,” Mazars,

140 S. Ct. at 2031 (quotation marks omitted), “as penetrating and far-reaching as the potential

power to enact and appropriate under the Constitution,” Eastland, 421 U.S. at 504 & n.15. It

“encompasses inquiries into the administration of existing laws, studies of proposed laws, and

surveys of defects in our social, economic or political system for the purpose of enabling the

Congress to remedy them.” Mazars, 140 S. Ct. at 2031. There are only a few discrete

“limitations” on this power, chiefly that the Congressional request be “related to, and in


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furtherance of, a legitimate task of Congress,” that is, that it “concern a subject on which

legislation could be had.” Id. (quotation marks omitted).

       In evaluating whether a Congressional request advances a legitimate purpose, this Court,

like the Executive Branch, is “bound to presume that the action of the legislative body was with a

legitimate object if it is capable of being so construed.” McGrain, 273 U.S. at 178 (quotation

marks omitted); Barry v. United States ex rel. Cunningham, 279 U.S. 597, 619 (1929)

(“presumption in favor of regularity” applies to Congressional acts); 2021 OLC Op. at 21-24

(describing Executive Branch practice of affording deference to Congress’s stated rationales).

Such deference is especially appropriate here, where “the Committee is requesting information

pursuant to statutory authority”—a long-established right of access to taxpayer information that

“has been approved through the bicameralism and presentment process.” 2021 OLC Op. at 23;

see id. at 24 (“[t]he political branches have repeatedly determined over the course of the last

century that the congressional tax committees should have a statutorily unlimited right of access

to tax information”). The 2021 Request plainly satisfies constitutional review under these

standards.

       First, the Committee’s 2021 Request relates to and furthers Congress’s oversight of and

legislating on the administration of the tax laws. In the request, the Committee stated that it “has

serious concerns about the IRS’s full and fair administration of the tax laws with respect to a

President and believes legislation may be needed in this area.” 2021 Request at 2. The

Committee explained that it seeks to determine, for example, whether IRS agents conducting

Presidential audits are susceptible to improper interference by the President (or his

representatives), whether they can access the necessary information to conduct a Presidential

audit, and whether the IRS has adequate authority and resources to conduct complex Presidential




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audits like those needed for Mr. Trump’s returns. See id. at 1, 3. Congressional access

specifically to Mr. Trump’s tax information, the Committee explained, is needed because of the

unique and “exceedingly challenging circumstances presented by former President Trump”: he

“is the sole President the Committee is aware of who controlled hundreds of business entities

while in office” (including entities engaged in “foreign business activities”), who was (he

acknowledges) under “continuous audit” before his Presidency, “and who routinely criticized the

IRS for auditing him.” Id. at 4-6. Thus, Mr. Trump raises heightened concerns about “whether

the mandatory audit program has functioned as intended when the taxpayer’s history is as

complex as former President Trump’s” and whether the IRS has the “ability to freely enforce the

tax laws against” an adversarial President. Id. at 5-6. With these concerns in mind, the 2021

Request stated, “the Committee continues to consider and prioritize legislation on equitable tax

administration, including legislation on the President’s tax compliance, and public

accountability,” and reviewing Mr. Trump’s returns and the related IRS administrative files

would be integral to the Committee’s ability to do so. Id. at 2, 6.

       Mr. Trump asserts that he has criticized only the IRS’s prior decisions to audit him before

he was President, not “the automatic, mandatory [presidential] audit.” Am.

Counterclaims/Cross-Claims ¶ 256. That is demonstrably false and should not be accepted for

purposes of this motion. See Farhi, Trump files 2017 taxes following 6-month extension, CBS

News (Oct. 17, 2018), https://www.cbsnews.com/news/trump-files-2017-taxes-following-6-

month-extension (White House press secretary stated, “The President and First Lady … are

automatically under audit, which the President thinks is extremely unfair.”), quoted in 2021

Request at 5-6; Trump Calls Years of Tax Avoidance ‘Fake News,’ Attacks I.R.S., N.Y. Times

(Sept. 27, 2020), https://www.nytimes.com/video/us/politics/100000007364069/




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trump-taxes.html (then-President Trump stated, “people in the IRS … treat me very, very,

badly”), quoted in 2021 Request at 6. In any event, as the 2021 Request explained, those prior

criticisms themselves raise questions about the IRS’s ability to audit Mr. Trump free from

improper interference when he was President. 2021 Request at 5-6.

       Enacting legislation to enhance the IRS’s resources, powers, and protections for carrying

out Presidential audits is plainly within Congress’s authority. Article I provides Congress the

power “[t]o lay and collect Taxes,” U.S. Const. art. I, § 8, cl. 1, as well as the authority to control

the appropriation of funds to federal agencies like the IRS, see id. art. I, § 9, cl. 7. And it

authorizes Congress to “make all Laws which shall be necessary and proper for carrying into

Execution” these enumerated powers and “all other powers vested … in the Government of the

United States.” Id. art. I, § 8, cl. 18. The IRS’s audits carry out the agency’s duties under a law

enacted pursuant to these constitutional authorities: the Internal Revenue Code.

       Second, the 2021 Request relates to and furthers Congress’s oversight of government

officials and development of legislation to prevent conflicts of interest that might impair their

ability to perform their public duties. In the 2021 Request, the Committee stated that “[f]ormer

President Trump’s tax returns could reveal hidden business entanglements raising tax law and

other issues, including conflicts of interest, affecting proper execution of the former President’s

responsibilities,” and “might also show foreign financial influences on former President Trump.”

2021 Request at 4. Here, too, such legislation is well within Congress’s power. The

Constitution prohibits the President from “accept[ing] … any … present[ or] Emolument …

from any … foreign State” without the “Consent of the Congress.” U.S. Const. art. I, § 9, cl. 8.

And that power is also supported by the Necessary and Proper Clause. Id. art. I, § 8, cl. 18. As

the district court recently concluded on remand in Mazars, “Congress’s power to consent—or not




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to consent—to foreign emoluments allows it to enact laws that are ‘derivative of, and in service

to, that granted power.’” Trump v. Mazars USA LLP, 2021 WL 3602683, at *25 (D.D.C. Aug.

11, 2021) (quoting NFIB v. Sebelius, 567 U.S. 519, 560 (2012)) (brackets omitted). And more

generally, the Supreme Court has long recognized that the Necessary and Proper Clause

empowers Congress to “inquire into and publicize” governmental “corruption, maladministration

or inefficiency.” Watkins, 354 U.S. at 200 n.33.

       B.      Allegations Regarding Individual Legislators’ Motives Do Not Vitiate The
               Committee’s Request

       Former President Trump asserts that the Committee’s stated purposes are “pretextual,”

e.g., Am. Counterclaims/Cross-Claims ¶ 141, and he speculates that “the primary purpose” of the

2021 Request “is to obtain and expose [his] information for the sake of exposure,” id. ¶ 295, or

to engage in “law enforcement,” id. ¶ 300. That argument fails for two reasons: the motives of

individual legislators are legally irrelevant, and in any event, the supposed motives of individual

Committee Members reflect legitimate legislative purposes.

               1.        The Committee’s Supposed Motives Are Legally Irrelevant

       Mr. Trump asks this Court to disregard the Committee’s stated rationales for the 2021

Request as pretextual and instead to focus on individual Committee Members’ supposed motives

for wanting to request his tax returns and tax information. Mr. Trump’s argument ignores

controlling precedent.

       As explained above, because the Committee has articulated a legitimate purpose for its

request—indeed, simply because its request can be construed to serve a legitimate purpose—the

Court must assume that that is the request’s real aim. See supra pp. 17-18. Thus, as Mr. Trump

acknowledged in Mazars, “[u]nder … existing precedent, … [c]ourt[s] cannot probe for an

unstated and illegitimate motive behind” a Congressional request for information. Reply Br. for



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Pet’rs, 2020 WL 1643780, at *15 (U.S. Mar. 27, 2020). The Supreme Court has clearly and

repeatedly instructed that “the motives of committee members … alone would not vitiate an

investigation which had been instituted by a House of Congress if that assembly’s legislative

purpose is being served.” Watkins, 354 U.S. at 200. “[I]n determining the legitimacy of a

congressional act [courts] do not look to the motives alleged to have prompted it.” Eastland, 421

U.S. at 508. “[T]esting the motives of committee members for this purpose … is not [the

courts’] function.” Watkins, 354 U.S. at 200. Rather, “[s]o long as Congress acts in pursuance

of its constitutional power, the Judiciary lacks authority to intervene on the basis of the motives

which spurred the exercise of that power.” Barenblatt v. United States, 360 U.S. 109, 132

(1959).8 The Supreme Court reaffirmed these principles in Mazars, stating that, in evaluating the

constitutional validity of a Congressional request, courts should consider “the asserted legislative

purpose” and “the evidence offered by Congress to establish that a subpoena advances a valid

legislative purpose,” without suggesting that courts should—or even could—look behind that

record. 140 S. Ct. at 2035 (emphases added).

       Mr. Trump’s request that this Court scrutinize and second-guess the Committee’s stated

rationales based on the Committee’s supposed subjective motives defies that clear precedent and

raises significant separation-of-powers concerns. “[J]ust as the Constitution forbids the Congress

to enter fields reserved to the Executive and Judiciary, it imposes on the Judiciary the reciprocal

duty of not lightly interfering with Congress’ exercise of its legitimate powers.” Hutcheson v.

United States, 369 U.S. 599, 622 (1962) (lead opinion of Harlan, J.). Consistent with that




       8
        Moreover, discovery into legislators’ motives would be foreclosed by the Speech or
Debate Clause, which provides Members of Congress (and their aides) a “privilege” against
compelled testimony and document production. Brown & Williamson Tobacco Corp. v.
Williams, 62 F.3d 408, 418-421 (D.C. Cir. 1995).


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principle, “the scope of [judicial] inquiry” into whether “[t]he particular [Congressional]

investigation at issue here is related to and in furtherance of a legitimate task of Congress … is

narrow.” Eastland, 421 U.S. at 505-506. As explained above, “‘courts should not go beyond the

narrow confines of determining that a committee’s inquiry may fairly be deemed within its

province,’” id. at 506 (quoting Tenney v. Brandhove, 341 U.S. 367, 378 (1951)), and courts “are

bound to presume that the action of the legislative body was with a legitimate object if it is

capable of being so construed,” McGrain, 273 U.S. at 178 (quotation marks omitted). This

presumption can be overcome only if it is “obvious” that “a committee’s investigation has

exceeded the bounds of legislative power.” Tenney, 341 U.S. at 378. A contrary rule would

“disrupt the legislative function” and enable “judicial power” to “imperil[]” “legislative

independence.” Eastland, 421 U.S. at 503. And as discussed in this brief, it is not at all

“obvious” that the Committee’s 2021 Request exceeds Congress’s power; to the contrary, the

request is clearly within Congress’s power. See supra pp. 16-30; infra pp. 28-30.

               2.      Even If Relevant, Allegations Regarding Subjective Motive Would
                       Not Vitiate The Committee’s Purposes

       Even if it were proper for the Court to consider former President Trump’s allegations

about the motives of Committee Members in wanting to obtain his tax returns, those allegations

would not undermine the legal conclusion that the 2021 Request serves legitimate purposes.

       The only person whose statements matter in this context is the Committee Chair because

Section 6103(f) expressly empowers only the Chair to request a tax return or tax information.

26 U.S.C. § 6103(f). (Similarly, the Committee’s rules empower only the Chair to issue a

subpoena. See Rule 15 of the Committee on Ways and Means for the 117th Congress.9) And



       9
       https://waysandmeans.house.gov/sites/democrats.waysandmeans.house.gov/files/
documents/117thWMRulesFINAL.pdf.


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Chairman Neal’s extensive statement in the 2021 Request does not even hint at pretext, let alone

support a plausible inference of pretext. Nor do his extensive statements in connection with the

2019 Request or the few remarks quoted in Mr. Trump’s pleading that arguably elaborate on

those requests. See Am. Counterclaims/Cross-Claims ¶¶ 236, 239, 273, 283; Letter for Charles

P. Rettig, Commissioner, Internal Revenue Service, and Steven Mnuchin, Secretary of the

Treasury, from Richard E. Neal, Chairman, Committee on Ways and Means, U.S. House of

Representatives (May 10, 2019) (attached as Exhibit D); Letter for Charles P. Rettig,

Commissioner, Internal Revenue Service, and Steven Mnuchin, Secretary of the Treasury, from

Richard E. Neal, Chairman, Committee on Ways and Means, U.S. House of Representatives

(June 28, 2019) (attached as Exhibit E).10

       Tellingly, Mr. Trump does not engage with those statements—indeed, his pleading

mentions their substance only in passing in three of the 351 paragraphs in his 84-page pleading.

See Am. Counterclaims/Cross-Claims ¶¶ 124, 131, 254. Instead, he relies on statements that, for

one or more reasons, do not reflect the Committee’s motives in issuing the 2021 Request. His

pleading recites numerous statements by officials who were not on the Committee and were not

involved in the Committee’s investigation, including a New York district attorney, eleven

Members of Congress who are not Members of the Committee on Ways and Means, various


       10
           The Supreme Court and the D.C. Circuit have recognized, for purposes of evaluating
“pertinency” in a criminal prosecution of contempt, that “the remarks of … members of the
committee … might sometimes make the topic clear” where an authoritative statement of
legislative purpose, such as through an “authorizing resolution” or “the remarks of the
chairman,” fails to do so. Watkins, 354 U.S. at 209; see Shelton v. United States, 404 F.2d 1292,
1297-1298 (D.C. Cir. 1968). Here, in contrast, there is no prosecution for contempt, and
Chairman Neal authoritatively and clearly articulated the Committee’s purpose; hence,
statements of other Members cannot supersede his determination of the request’s purposes, see
Wilkinson v. United States, 365 U.S. 399, 411-412 (1961) (purpose of “individual members”
could “not vitiate” congressional investigation where “Committee resolution” and “Chairman’s
statement” articulated legislative purpose).


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unnamed Democratic “supporter[s]” and “commentators,” and even Hillary Clinton. See, e.g.,

Am. Counterclaims/Cross-Claims ¶¶ 135, 140, 201. He also cites various statements by

Members of the Committee other than its Chair. See, e.g., id. ¶¶ 24, 42-73, 77, 94, 97-112, 114-

116, 118-121, 147-187. Even the statements by Congressman Neal that Mr. Trump quotes do

not support Mr. Trump’s contention that the Committee’s stated interest in the IRS’s audits is not

its real interest: statements that the public wants to know what is in Mr. Trump’s tax returns do

not mean that Chairman Neal’s goal is simply to disclose them to the public, and in any event

many of the quoted statements occurred before the Committee began to focus on the

effectiveness and integrity of the IRS’s audits of Mr. Trump during his Presidency (and mostly

before Chairman Neal was Chairman). See, e.g., id. ¶¶ 28, 37-41, 83.

       Mr. Trump’s characterization depends on decontextualizing and distorting various

statements by Chairman Neal. Read in context, none of the statements—which the Court can

review directly and take judicial notice of—indicate that the Committee is indifferent to its stated

interests in obtaining Mr. Trump’s tax returns and tax information. The Chairman’s desire to

move “judiciously and methodically” and “meticulous[ly]” and to develop “a carefully prepared

and documented legal case,” in consultation with House lawyers, Am. Counterclaims/Cross-

Claims ¶¶ 79, 88, 128-129, merely shows that the Committee was appropriately deliberative and

attentive to the applicable law in making its request; that desire says nothing at all about the

Committee’s purposes.11 Mr. Trump asserts that the Committee’s stated purposes “appeared for




       11
          See, e.g., Sullivan, Powerful Ways and Means chairman Neal to pursue Trump’s tax
returns, Worcester Telegram (Jan. 23, 2019), https://www.telegram.com
/news/20190123/powerful-ways-and-means-chairman-neal-to-pursue-trumps-tax-returns, quoted
in Am. Counterclaims/Cross-Claims ¶ 88; Faler, Neal defends go-slow approach to seeking
Trump’s tax returns, Politico (Jan. 24, 2019), https://www.politico.com/story/2019/



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the first time in” the 2019 Request after being concocted by House lawyers as “rationalizations

that were created for litigation.” Am. Counterclaims/Cross-Claims ¶¶ 86, 91, 126-128, 131,

295. On the contrary, as noted above, questions about the integrity of the audits arose publicly

before Chairman Neal issued the 2019 Request, including through expert testimony at the

Committee’s February 2019 hearing. See supra p. 8.

       In any event, the cited statements of other Committee Members and of the Speaker of the

House (most of which significantly predate the 2021 Request) do not establish pretext, but rather

confirm the legitimacy of the 2021 Request’s stated objectives. Those statements refer, for

example, to uncovering Mr. Trump’s “tax evasion,” self-dealing, “foreign entanglements,”

“corrupt[ion],” “fraud,” and “crimes.” Am. Counterclaims/Cross-Claims ¶¶ 45-46, 51, 59, 96,

100-101, 143-145, 147, 164, 169, 177, 271-272. Those statements do not “spoil[] the

Committee’s otherwise valid legislative inquiry.” Trump v. Mazars USA LLP, 940 F.3d 710, 728

(D.C. Cir. 2019), vacated on other grounds by Mazars, 140 S. Ct. 2019.12 Rather, they accord

with the Committee’s legitimate legislative and oversight goals—ensuring that the tax laws are

applied effectively and impartially to Presidents and safeguarding against Presidents having

hidden conflicts of interest that compromise their ability to perform their public duties. Indeed,




01/24/richard-neal-trump-tax-returns-1124066, quoted in Am. Counterclaims/Cross-Claims ¶ 88;
Judem, Rep. Neal: Request For Trump’s Taxes ‘Was Not Motivated By Malevolence’, GBH
News (Apr. 5, 2019), https://www.wgbh.org/news/national-news/2019/04/05/rep-neal-request-
for-trumps-taxes-was-not-motivated-by-malevolence, quoted in Am. Counterclaims/Cross-
Claims ¶ 128; Lorenzo & Caygle, Inside House Dems’ move to seize Trump’s tax returns,
Politico (Apr. 4, 2019), https://www.politico.com/story/2019/04/04/democrats-trump-tax-
returns-1321840, quoted in Am. Counterclaims/Cross-Claims ¶ 128.
        12
           This and other portions of the D.C. Circuit’s decision in Mazars “continue to have
precedential weight” because the Supreme Court’s opinion “expressed no opinion on the merits
of” them. Action All. of Senior Citizens of Greater Phila. v. Sullivan, 930 F.2d 77, 83 (D.C. Cir.
1991).


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“an interest in past illegality can be wholly consistent with an intent to enact remedial

legislation.” Id.

       Mr. Trump maintains in Counterclaim I that some of these statements demonstrate that

the Committee’s purpose was to “expose” the requested “information for the sake of exposure.”

Am. Counterclaims/Cross-Claims ¶ 295. That contention contradicts the documentary record,

which plainly shows the Committee’s interest in oversight and legislation. But even Mr.

Trump’s speculative and conclusory argument misunderstands the law. Although “there is no

congressional power to expose for the sake of exposure,” Mazars, 140 S. Ct. at 2032, not all

Congressional exposure is illegitimate. Congress has “the power … to inquire into and publicize

corruption, maladministration or inefficiency in agencies of the Government.” Watkins, 354

U.S. at 200 & n.33; see id. at 200 (“The public is, of course, entitled to be informed concerning

the workings of its government.”). In other words, exposure is illegitimate only if it is entirely

divorced from a legislative or oversight purpose. And here, the statements cited by Mr. Trump at

most show that any exposure would be in connection with the Committee’s legitimate

investigative and legislative efforts.

       Alternatively, in Counterclaim II, Mr. Trump asserts that certain statements reveal that

Committee’s real motive is impermissibly to conduct criminal law enforcement. E.g., Am.

Counterclaims/Cross-Claims ¶¶ 43-55, 61-62, 96-102, 106-110, 301. It is true that investigating

the effectiveness of the IRS’s Presidential audits might expose that Mr. Trump committed

criminal tax evasion or other crimes, and the Supreme Court has held that a Congressional

subpoena cannot be used “for the purpose of law enforcement.” Mazars, 140 S. Ct. at 2032. But

Mr. Trump’s claim nonetheless fails because courts “must determine whether Congress’s

legislative purpose is being served without taking into account either whether the investigation




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will reveal, or whether the investigators are motivated to reveal, criminal conduct.” Mazars, 940

F.3d at 724 (quotation cleaned). As the Supreme Court has explained, Congress’s “authority …

to require pertinent disclosures in aid of its own constitutional power is not abridged because the

information sought to be elicited may also be of use” in “the prosecution of pending suits.”

Sinclair v. United States, 279 U.S. 263, 295 (1929); see Mazars, 940 F.3d at 724 (“the fact that

an investigation might expose criminal conduct does not transform a legislative inquiry into a

law-enforcement endeavor”). It therefore is not “a valid objection” that the Committee’s

investigation “might possibly disclose crime or wrongdoing.” McGrain, 273 U.S. at 179-180. A

contrary rule of law would significantly curtail Congress’s investigative authority under Article

I. What the principle that Congress may not conduct law enforcement actually precludes is

Congress “us[ing] subpoenas to try someone before a committee for any crime or wrongdoing.”

Mazars, 140 S. Ct. at 2032 (quotation cleaned). Mr. Trump does not allege, much less plausibly

allege, that is the Committee’s objective.

       Finally, the Supreme Court has foreclosed Mr. Trump’s vague assertion that the 2021

Request is illegitimate because the Committee issued it for political gain. E.g., Am.

Counterclaims/Cross-Claims ¶¶ 5, 21, 85, 217. As the Court recently recognized in Mazars, a

Congressional request is not invalid just because it raises “a clash between rival branches of

government over records of intense political interest for all involved.” 140 S. Ct. at 2034

(emphasis added). Rather, the Court has declared: “In times of political passion, dishonest or

vindictive motives are readily attributed to legislative conduct and as readily believed. Courts

are not the place for such controversies.” Tenney, 341 U.S. at 378. Again, “[t]he courts should

not go beyond the narrow confines of determining that a committee’s inquiry may fairly be

deemed within its province.” Id. Indeed, because Congress is by design a “political branch[],”




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Mazars, 140 S. Ct. at 2026, if Mr. Trump were correct and the “mere presence of a political

motivation were enough to disqualify a Congressional request, the effect would be to deny

Congress its authority to seek information,” 2021 OLC Op. at 26; see Mazars, 140 S. Ct. at

2033-2035. That “result is incompatible with the Constitution.” 2021 OLC Op. at 26. The

Mazars district court recently stressed these principles in rejecting a similar challenge by Mr.

Trump to another Congressional request. 2021 WL 3602683, at *9-10.13

       C.      Mr. Trump’s Contentions That The Committee’s Request Exceeds Its
               Constitutional Authority Fail

       In Counterclaim III, Mr. Trump contends that the 2021 Request is invalid because

“Congress cannot constitutionally require the IRS to audit a President,” Am.

Counterclaims/Cross-Claims ¶ 308, and the Committee’s other “contemplated laws” “would fall

outside the Committee’s legislative jurisdiction,” id. ¶ 310. These arguments fail.

       Mr. Trump asserts that “Congress cannot constitutionally require the IRS to audit a

President. Presidents alone are vested with the executive power.” Am. Counterclaims/Cross-

Claims ¶ 308. But his separation-of-powers theory has no purchase here because legislation

governing the IRS’s audit of Presidents’ tax returns would relate to the Executive Branch’s

administration of laws (the Internal Revenue Code) that apply equally to all taxpayers, including

Mr. Trump and other Presidents, not laws that apply to Presidents as constitutional officers.

Thus, such legislation would not affect a President’s ability to discharge the President’s

constitutional duties.


       13
          In Counterclaim I, Mr. Trump also asserts that the 2021 Request “does not satisfy the
terms of § 6103(f)” because (he says) § 6103(f) does not “cover the information of Presidents
or former Presidents.” Am. Counterclaims/Cross-Claims ¶ 297. There is no evident connection
between that assertion and the substance of Counterclaim I, i.e., that the Committee’s stated
purpose is pretextual and the real purpose is to expose for the sake of exposure. In any event,
Mr. Trump makes the same argument in Counterclaim V, and for the reasons stated in Treasury’s
brief addressing that claim, his assertion is wrong.

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       In any event, as noted, “the relevant inquiry is whether legislation ‘may be had,’ not

whether constitutional legislation will be had. Accordingly, [courts] first define the universe of

possible legislation that the subpoena provides ‘information about,’ and then consider whether

Congress could constitutionally enact any of those potential statutes.” Mazars, 940 F.3d at 732

(quoting Eastland, 421 U.S. at 508) (citation omitted). Mr. Trump, in other words, must

demonstrate that the 2021 Request “could result in no valid legislation.” Id. at 736. But he

cannot. Contrary to his assertion that “Congress cannot require the President—a coequal

office created by the Constitution itself—to disclose particular information or divest from

certain business relationships,” Am. Counterclaims/Cross-Claims ¶ 311, Congress is not wholly

disabled from regulating the President’s performance of his duties and in fact the power of

Congress (and the courts) to compel the President to disclose information has long been

recognized. See Mazars, 940 F.3d at 733-736 (holding, “Congress can require the President to

make reasonable financial disclosures” (citing GSA, 433 U.S. at 441-443)); Mazars, 140 S. Ct. at

2032-2033, 2035; see also Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637 (1952)

(Jackson, J., concurring).14 In any event, Mr. Trump’s mistaken understanding of the scope of

the President’s power to maintain the confidentiality of information is irrelevant because

legislation contemplated by the 2021 Request would govern the IRS’s conduct of audits of

Presidents’ tax returns.

       Mr. Trump also contends that the 2021 Request is not “reasonably relevant” to the

“studying the IRS’s audit process” or “[o]ther contemplated laws.” Am. Counterclaims/Cross-

Claims ¶¶ 309-310. The requested materials here plainly are relevant. See supra pp. 17-18.




       14
         See also United States v. Nixon, 418 U.S. 683, 707 (1974); Senate Select Comm. on
Presidential Campaign Activities v. Nixon, 498 F.2d 725, 730 (D.C. Cir. 1974).

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Indeed, as explained below in the context of Counterclaim IV, the Committee had good reason to

focus its request on Mr. Trump and to request both his returns (including for the two years

preceding his Presidency) and the related audit files. See infra pp. 38-41. Beyond that, Mr.

Trump is playing an illogical shell game; each category of material requested need not contain

information relating to all of the Committee’s aims.

II.    COUNTERCLAIM IV FAILS AS A MATTER OF LAW

       In Counterclaim IV, former President Trump asserts that the Committee’s request does

not “satisfy the heightened standard” applicable to “Congressional requests for information that

implicate the separation of powers” articulated by the Supreme Court in Mazars. Am.

Counterclaims/Cross-Claims ¶¶ 313-317. That standard, however, does not apply to

Congressional requests made pursuant to statute or to requests for records relating to former

Presidents. This counterclaim fails as a matter of law for those reasons alone. For the same

reasons, the “Mazars lite” standard adopted by the district court on remand in Mazars is also

inapplicable. Instead, the more general separation-of-powers balancing test used by the Supreme

Court in GSA applies.

       The doctrinal question of which of these standards applies here is ultimately academic to

the outcome of this case. Regardless of which test applies, the result is clear: the 2021 Request is

constitutionally valid. The Committee has articulated and substantiated that the requested tax

returns and return information are integral to its ability to carry out its legislative and oversight

aims of ensuring that Presidential audits are effective and fair, that IRS staff are safeguarded

from improper interference, and that Presidents are not secretly susceptible to foreign influence

through emoluments or other foreign-source benefits. Further, the Committee’s legitimate need

for the requested tax materials far outweighs the negligible burden, if any, that its request for a

former President’s tax records would place on sitting Presidents.


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       Consequently, Counterclaim IV must be dismissed.

       A.      The Mazars Test Does Not Apply

       1.      Counterclaim IV fails because the Mazars test does not apply to statutory requests

for a former President’s information. Mazars involved subpoenas issued while Mr. Trump was

in office by House committees to banks and an accounting firm for financial information relating

to him. 140 S. Ct. at 2026-2027. The Court first held that the “demanding standards” applicable

to subpoenas for “Oval Office communications”—which “safeguard[] the public interest in

candid, confidential deliberations within the Executive Branch”—do not apply to requests for

“nonprivileged, private information, which by definition does not implicate sensitive Executive

Branch deliberations.” Id. at 2032-2033. Nonetheless, the Court held that “Congressional

subpoenas for information from the President” raise “significant separation of powers issues”

because “Congress and the President have an ongoing institutional relationship as the opposite

and rival political branches established by the Constitution.” Id. at 2033-2034, 2036 (quotation

marks omitted). Accordingly, the Court determined that a “balanced approach is necessary”—

one that accounts for “both the significant legislative interests of Congress and the ‘unique

position’ of the President.” Id. at 2035.

       To that end, the Court identified four “special considerations [that] inform this analysis”:

       First, courts should carefully assess whether the asserted legislative purpose
       warrants the significant step of involving the President and his papers. … Second,
       to narrow the scope of possible conflict between the branches, courts should insist
       on a subpoena no broader than reasonably necessary to support Congress’s
       legislative objective. … Third, courts should be attentive to the nature of the
       evidence offered by Congress to establish that a subpoena advances a valid
       legislative purpose. … Fourth, courts should be careful to assess the burdens
       imposed on the President by a subpoena.

Mazars, 140 S. Ct. at 2035-2036.




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        Previously, in GSA, the Supreme Court articulated a different balancing test for

evaluating Congressional demands for a former President’s information. After President Nixon

left office, Congress enacted a statute directing the General Services Administration “to take

custody of [his] Presidential papers and tape recordings” and to “determine the terms and

conditions upon which public access may eventually be had” to them. 433 U.S. at 429. In

assessing the validity of the statute, the Court adopted a standard that balanced “the important

interests that the Act seeks to attain” against “the extent to which it prevents the Executive

Branch from accomplishing its constitutionally assigned functions.” Id. at 443, 446. This

standard largely corresponds to the first and fourth Mazars factors. See Mazars, 2021 WL

3602683, at *13 (“the two interests” balanced under GSA test are “two of the four considerations

set forth in Mazars itself”).

        2.      The GSA test, not the Mazars test, should apply here for two reasons. First, like

in GSA but unlike in Mazars, here “[t]he relevant congressional request was made pursuant to an

actual statute.” Mazars, 2021 WL 3602683, at *18 n.30 (distinguishing this case from

enforcement of Congressional subpoena for Mr. Trump’s financial information). Second, also

like in GSA but unlike in Mazars, the request here seeks information relating to a former

President. Where an ex-President’s personal information is sought, the “ongoing relationship”

between the Legislative and Executive Branches that “necessarily inform[ed] the Court’s

analysis” in Mazars is absent. 140 S. Ct. at 2026. In this circumstance, the Congressional

request neither “pit[s] the political branches against one another” nor occurs in a context where

there are political incentives for the two branches to engage in “negotiation and compromise.”

Id. at 2031, 2034. And because “the close connection between the Office of the President and its

occupant” has been severed, there is no risk that the Congressional “demand” could “harass the




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President or render him complaisant to the humors of the Legislature.” Id. at 2034 (quotation

cleaned).

        On remand in Mazars, the district court—now confronting Congressional subpoenas

“directed at a former President”—agreed that “that change affects the foundations of the Mazars

test” in these very ways. The court observed that, “because President Trump no longer ‘alone

composes a branch of government,’ this dispute no longer implicates a present ‘clash between

rival branches of government.’” 2021 WL 3602683, at *13 (quoting Mazars, 140 S. Ct. at 2034).

Such a request, the court said, will neither “‘intru[de] into the operation of the Office of the

President’ nor … burden ‘the sitting President’s time and attention.’” Id. (quoting Mazars, 140

S. Ct. at 2036) (alterations omitted). Further, the court recognized that “the Mazars test was

crafted against a ‘tradition of negotiation and compromise’ between co-equal branches of

government, but … a former President’s incentives to accommodate Congress are greatly

diminished compared to those of an incumbent.” Id. (quoting Mazars, 140 S. Ct. at 2031). Yet,

instead of applying the GSA test, the Mazars district court applied what it termed “Mazars lite”

because, in its view, “[t]hese foundational differences alter the Mazars framework in important

ways that support reduced judicial scrutiny of a congressional subpoena to a former President.”

Id. at *13. Under the “Mazars lite” test, the court explained, each Mazars factor would be

applied in a “less rigorous” way in the context of a Congressional request for a former

President’s nonprivileged, private information. Id.

        The Committee respectfully submits that the Mazars district court erred in applying its

“Mazars lite” test instead of the GSA balancing test. Nonetheless, for the reasons discussed

shortly, the 2021 Request is constitutionally valid—and thus Counterclaim IV fails—under any

of the three tests just described.




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       3.      Mr. Trump contends that the full-blown Mazars test should apply here

irrespective of the fact that he is no longer President because he was the President when the 2019

Request was made and the 2021 Request “was not a new request, but a voluntary adjustment to

the April 2019 request.” Am. Counterclaims/Cross-Claims ¶¶ 314-315. Again, Counterclaim IV

fails even under that test, but in any event, the Mazars district court rejected the same argument

by Mr. Trump, 2021 WL 3602683, at *11, and rightly so, for two reasons.

       First, this case concerns the 2021 Request, not the 2019 Request. The requests are

similar, but not the same: the 2021 Request was issued by a new Congress, seeks returns and

return information for different tax years, and was accompanied by its own detailed explanation

of the Committee’s legislative and oversight needs. Courts should respect Congress’s

prerogative to define its requests for information to the Executive Branch as it sees fit. See id.

(“That the two subpoenas are substantively identical does not mean there has only ever been one

Mazars subpoena. The [second] Subpoena is a new demand for records ….”).

       Second, even if the two requests were one and the same, because Mr. Trump seeks to

enjoin Treasury’s compliance with the request, the request’s validity must be assessed based on

the current circumstances. See id. at *12 (giving “due weight to post-subpoena developments”

because prospective relief was sought). It is well-established that the question of prospective

enforcement vel non—which is what this case involves—is determined based on the facts and

circumstances existing at the time of the judgment. See, e.g., id.; Duplex Printing Press Co. v.

Deering, 254 U.S. 443, 464 (1921) (“this form of relief operates only in futuro, and the right to it

must be determined as of the time of the hearing”); Tory v. Cochran, 544 U.S. 734, 737-738

(2005); Landgraf v. USI Film Prods., 511 U.S. 244, 274 (1994). In fact, the D.C. Circuit

previously dismissed a lawsuit seeking to enforce a Congressional subpoena because “the




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Committee’s argument that the subpoenaed materials are necessary to its legislative judgments

ha[d] been substantially undermined by [the] subsequent” actions disclosing the information

sought. Senate Select Comm. on Presidential Campaign Activities, 498 F.2d at 732-733. The

same principle applies here. And even if viewed as a single request articulated through the

Committee’s statements in 2019 and in 2021, the request is constitutionally valid, for all the

reasons discussed in this motion.

       B.      Regardless Of Which Test Applies, The Request Does Not Violate The
               Separation Of Powers

       Under the full-blown Mazars test, the “Mazars lite” test, or the GSA test, the

Committee’s request accords with the constitutional separation of powers.

               1.      The Request Imposes No Burden On The Current President Or
                       Future Presidents

       Now that Mr. Trump has left office, he cannot plausibly claim that Treasury’s

compliance with the 2021 Request will burden the Office of the President in any way. The

request seeks no Presidential materials—no “Oval Office communications,” for example, and

nothing related to the official duties of a President—but rather only “nonprivileged, private

information” and related IRS records. Mazars, 140 S. Ct. at 2032-2033. Nor does the request

seek anything from or burden the sitting President. Consequently, the request will not “intru[de]

into the operation of the Office of the President,” expose the President to “harass[ment],” or

“render him complaisant to the humors of the Legislature,” let alone divert his “time and

attention” (which generally is not constitutionally protected anyway). Id. at 2034, 2036; see

Mazars, 2021 WL 3602683, at *13 (“burdens imposed on the President … are greatly

diminished, if not eliminated entirely, when the President to whom the subpoena is issued no

longer occupies the office”). This conclusion is reinforced by the fact that the Executive




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Branch—which has an obvious interest in safeguarding the institutional interests of the

Presidency—has concluded that it must comply with the Committee’s request, without

expressing any concern that doing so would burden the President. See 2021 OLC Op. at 28-29;

see also GSA, 433 U.S. at 441 (that President Ford signed disclosure law and President Carter’s

Administration “support[ed]” its constitutionality in litigation indicated law did not violate

separation of powers).

       On remand in Mazars, the district court acknowledged the possibility that “the threat of a

post-presidency subpoena for personal information [would] influence how the sitting President

treats Congress while in office,” but the court deemed that risk “remote” and “not nearly as

injurious to the separation of powers as” a subpoena issued “during” the relevant President’s

term. 2021 WL 3602683, at *13. Even if that were correct there, such risk is even more

attenuated here. Since President Nixon became the first President to release his tax returns to the

public, in 1973, every elected President other than Mr. Trump has voluntarily released his

returns, including Mr. Trump’s successor.15 The long history of Presidents’ willingness to

publicly release their returns strongly suggests that future Presidents will not be troubled by the

prospect of doing the same. Speculation that future Congresses will use Section 6103(f) requests

to obtain tax returns and return information of former Presidents as a tool of harassment

contradicts the presumption of good faith due to a co-equal branch of government and overlooks




       15
          See, e.g., The President and Vice President release their 2020 tax returns, The White
House (May 17, 2021), https://www.whitehouse.gov/briefing-room/disclosures/2021/05/17/the-
president-and-vice-president-release-their-2020-tax-returns/; President Obama and Vice
President Biden’s 2015 Tax Returns, The White House (President Barack Obama Archives)
(Apr. 15, 2016), https://obamawhitehouse.archives.gov/blog/2016/04/15/president-obama-and-
vice-president-bidens-2015-tax-returns; President and Mrs. Bush Release 2000 Tax Return, The
White House (President George W. Bush Archives) (Apr. 13, 2001), https://georgewbush-
whitehouse.archives.gov/news/releases/2001/04/20010413-6.html.


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the highly unusual circumstances necessitating the Committee’s request for tax records and

corresponding IRS files here. Indeed, Mr. Trump’s flat refusal to release his individual returns

or to release information about ongoing IRS audits (if any) reinforces the significant concerns

underlying the Committee’s request for his tax information from the IRS.

       In addition, the Mazars district court determined that the risk of undue influence on

Presidents was “increased” by the “subpoena’s breadth and intrusiveness.” 2021 WL 3602683,

at *17. The Committee strongly disagrees with this aspect of the Mazars court’s analysis, but

even if the court’s characterization were correct, the Committee’s 2021 Request is well tailored

to the Committee’s investigative objectives and includes only those documents most pertinent to

the Committee’s investigation. See infra pp. 39-41.

               2.      The Committee’s Purposes Warrant Involving Mr. Trump’s Papers

       The Committee’s legislative and oversight purposes warrant seeking Mr. Trump’s tax

information because there are no “other sources [that] could reasonably provide Congress the

information it needs in light of its particular legislative objective[s].” Mazars, 140 S. Ct. at

2035-2036. The Committee does not seek to use Mr. Trump’s information as a “‘case study’ for

general legislation,” id. at 2036, but rather seeks to investigate and potentially develop legislation

directed specifically at circumstances involving Presidents and informed specifically by risks

that Mr. Trump’s actions appear to have generated.

       The legislative and oversight objectives identified in the 2021 Request—which include

ensuring that Presidential audits are fair, effective, and free from improper interference, and

ensuring that foreign entanglements do not interfere with Presidents’ faithful execution of

official duties—are obviously specific to the Presidency. Therefore, only information relating to

Presidents will do: the Committee cannot truly understand a process that applies uniquely to a

President other than by examining records relating to a President.


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       What is more, the Committee is justifiably focused specifically on Mr. Trump because, as

the 2021 Request explained, his actions and statements raised unprecedented and serious

concerns about his tax compliance and foreign entanglements and about the IRS’s ability to

enforce the tax laws against him while President. His Presidency was a nonpareil stress test, and

the Committee has the constitutional right and duty to investigate and assess the extent to which

the existing systems withstood that stress and what legislative reinforcements, if any, are needed.

Compared to past Presidents, Mr. Trump’s returns appear to be inordinately large and complex,

reflecting his sprawling domestic and international business activities, which raises the question

of whether the IRS has the requisite resources and authority to examine such returns as

effectively as needed for a President. And he repeatedly attacked the IRS and its audits of him

both while a Presidential candidate and while President, which raised the important question of

whether IRS employees are properly protected from a President’s attempts to improperly

influence its audits. See supra pp. 11, 18-19. In sum, Mr. Trump’s returns and related

administrative files are not only “necess[ary]” but also “unique[ly] useful[].” Mazars, 2021 WL

3602683, at *16.

       Further, Mr. Trump’s foreign business activities raise additional concerns about improper

foreign influence that could inform relevant remedial legislation aimed at preventing

“corruption” and “maladministration” in the Presidency. Watkins, 354 U.S. at 200 n.33. Indeed,

given that the Constitution prohibits the acceptance of any foreign emolument without “the

Consent of the Congress,” U.S. Const. art. I, § 9, cl. 8, “[i]f Congress cannot mandate disclosure

pursuant to its consent authority, one wonders how it could possibly exercise that authority

effectively,” Mazars, 2021 WL 3602683, at *25.




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       Finally, the Committee is operating “on a clean slate.” Mazars, 2021 WL 3602683, at

*16. In Mazars, the district court found that “the legislative objectives” were “relatively

incremental and therefore present[ed] only a limited need for former President Trump’s financial

records” because “the preexisting financial disclosure regime the Committee seeks to build on is

already quite extensive.” Id. at *16-17. Again, the Committee strongly disagrees with the

Mazars district court’s analysis on this point: no matter how extensive the preexisting regime

may be, it remains open to Congress to investigate whether that regime is achieving Congress’s

current goals and doing so in appropriate ways; “legislative acts … [are] alterable when the

legislature shall please to alter” them. Marbury v. Madison, 5 U.S. 137, 177 (1803). Even if the

Mazars district court’s analysis were sound, however, this case would still be different because

there is no existing or proposed statute governing Presidential tax audits. Cf. Mazars, 2021 WL

3602683, at *18 n.30 (distinguishing this case). The point of the Committee’s inquiry here is to

determine the need, if any, for such legislation and the shape that such legislation would take.

               3.      The 2021 Request Seeks Only What Is Reasonably Necessary

       The 2021 Request is tailored to what is reasonably necessary to serve the Committee’s

legislative and oversight purposes.

       As explained in the 2021 Request, the Committee does not know, among other things:

          For which years and for which entities, if any, did the IRS audit former President
           Trump’s tax returns?

          If performed, were those audits thorough and accurate? Were the audits deficient or
           inadequate in any way, and if so, how and why?

          Was Mr. Trump under audit before his election and, if so, did the audit process
           change after he became President? If so, how and why?

          Did the IRS have the resources and personnel needed to perform the audits
           effectively?




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          Did the IRS have adequate authority to obtain the information it needed from Mr.
           Trump to perform the audits?

          Were there any indications that Mr. Trump had received any emoluments, income, or
           other benefits from foreign sources?

          Did the audits result in any disputes, notices of deficiency, or adjustments and, if so,
           how were they resolved?

          If any audits for years in which Mr. Trump was President were not completed before
           his term ended, have they since been completed? If not, will they be completed and
           when?

          Did Mr. Trump directly or indirectly try to block, interfere with, or influence the
           audits? If so, were the relevant IRS employees protected from those efforts in the
           course of their work, what steps did the IRS take to protect its employees, and to what
           extent did those efforts affect the IRS’s audits?

          In what ways, if any, did the IRS treat Mr. Trump’s returns differently from other
           similarly situated taxpayers?

See 2021 Request at 1-5.

       The 2021 Request seeks the two most obvious and basic categories of documents

required to answer those questions: Mr. Trump’s individual income tax returns and the income

tax returns for eight of his business entities (for a defined number of years) and related IRS

administrative files. Mr. Trump asserts that the “audit files would contain virtually no

information about business entanglements, and the tax returns contain no information about the

audit process.” Am. Counterclaims/Cross-Claims ¶ 310. But “[w]ithout seeing the relevant

returns and return information, it is impossible to” answer such questions and therefore it is

impossible to “properly assess whether the scope of a mandatory audit was complete, objective,

and fair and to legislate accordingly.” 2021 Request at 6. Contrary to Mr. Trump’s assumption,

each type of document need not bear on all aspects of the Committee’s investigation; they need

only bear on some part, and they do. Without both the returns and the accompanying

administrative files, the Committee cannot evaluate the sufficiency, independence, or



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impartiality of the IRS’s audits: it needs the returns to see, among other things, what Mr. Trump

reported, and it needs the administrative files to see how the IRS audited those returns.

       Further, the tax returns may contain information relating to foreign-source income, see,

e.g., IRS Form 1040, Schedules B, C & E; IRS Form 1065, Schedule B & K; IRS Schedule K-1

(Form 1065), and the audit files may contain further materials illuminating those sources.

Finally, the Committee has requested the returns for the two tax years preceding Mr. Trump’s

Presidency in order to ensure that the Committee gains a sufficiently complete picture of the

IRS’s audits of his returns while President, including whether the IRS’s approach to auditing Mr.

Trump’s returns changed or was affected by his newfound power as the head of the Executive

Branch. Thus, as OLC determined, the period covered by the 2021 Request “is well-aligned with

the Committee’s interest in the presidential tax audit program.” 2021 OLC Op. at 32; cf. Mazars,

2021 WL 3602683, at *17 (determining that subpoena seeking financial records relating to Mr.

Trump for years 2011-2018 was both under- and over-inclusive); id. at *26.

               4.      The Committee Justified Its Need For The Requested Materials

       The Committee has “adequately” supported its request with “detailed and substantial”

evidence. Mazars, 140 S. Ct. at 2036. The 2021 Request contains more than five single-spaced

pages explaining the Committee’s legislative and oversight needs for Mr. Trump’s tax returns

and the related IRS administrative files. The request explains: the importance of having a fair

and effective tax system and the Committee’s responsibility for crafting legislation to achieve

that goal, 2021 Request at 1, 3; the lack of information about the IRS Presidential audit program,

id. at 2; the Committee’s detailed concerns about the program’s inability to handle highly

complex returns or to withstand improper pressure by a President, based on its review of the

Manual and the IRS’s “own admission,” id. at 2-4; the unprecedented pressures Mr. Trump has

applied to the Presidential audit program through his unusually complex returns, foreign business


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activities, refusal to release his returns publicly, and hostility towards the IRS and its audits of

him, based on media reports and his own public statements, id. at 4-6; what information Mr.

Trump’s returns and the related administrative files might reveal regarding the Committee’s

concerns, id. at 4, 6; and the Committee’s legislative goals to redress these concerns should they

be borne out, id. at 2-3.

        That is alone sufficient, but the 2021 Request is further substantiated by information

obtained by the Committee during its hearing in February 2019. At that hearing, witnesses

testified that Mr. Trump’s tax returns would inform the Committee’s assessment of whether the

Presidential audit program functions effectively, particularly under the challenging

circumstances presented by Mr. Trump. One tax expert witness testified that, “without seeing

[Mr. Trump’s] returns, the Committee cannot tell whether the returns are being properly

reviewed by the IRS” and “cannot understand how any disputes have been resolved.” Steven M.

Rosenthal, The Value of Presidential and Vice-Presidential Tax Returns to the Public and

Congress, Tax Policy Center, at 6 (Feb. 7, 2019) (submitted to and accepted by Subcommittee

during hearing, Oversight Tr. at 24). Another expert witness cited the “experience in the Nixon

administration” as evidence “that the IRS may not be able to … vigorously enforce the law

relative to the President,” and recommended that audit requirements be codified in a statute

rather “than handled through the internal policies of the IRS.” Oversight Tr. at 40-41 (testimony

of Joseph J. Thorndike).

        Witnesses also testified at the hearing that Mr. Trump’s tax returns could disclose foreign

emoluments or entanglements that would create conflicts of interest or suggest improper

influence. “[T]ax transparency,” one witness testified, “could lead to greater accountability”

concerning subjects like the receipt of “funds from foreign sources,” noting that “a lot of foreign




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governments have very extensive funds that invest in businesses.” Oversight Tr. at 26, 52

(testimony of Noah Bookbinder). Because of such concerns, witnesses urged the Committee to

request Mr. Trump’s business tax returns in addition to his individual income tax returns. See,

e.g., id. at 27, 51, 55.

        In sum, the Committee’s articulation of its legislative and oversight purposes in

requesting Mr. Trump’s tax returns and related return information, as well as the bases for the

Committee’s belief that those materials would serve Article I purposes, was ample.

III.    THE REMAINING CROSS-CLAIMS AGAINST TREASURY SHOULD BE DISMISSED

        Although the Committee is not named as a defendant in Cross-Claims V through VIII,

the Committee believes those claims should be dismissed. In order to avoid duplicative briefing

consistent with the Court’s direction, the Committee refers the Court to the discussion of those

claims in Treasury’s motion to dismiss.

                                          CONCLUSION

        The Court should, as quickly as possible, grant the Committee’s motion to dismiss and

thereby not interfere with Treasury’s compliance with the Committee’s request for information

under 26 U.S.C. § 6103(f).




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October 12, 2021                           Respectfully submitted,

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